             Case 2:21-cv-01566-SKV Document 7 Filed 12/01/21 Page 1 of 3




 1                                                                            HONORABLE S. KATE VAUGHAN

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 8                              UNITED STATES DISTRICT COURT
                          FOR THE WESTEREN DISTRICT OF WASHINGTON
 9                                       AT SEATTLE
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11   TERESA VANWOUDENBERG and JOHN                                                 CASE NO. C21−1566−SKV
     VANWOUDENBERG, individually and the
12   marital community thereof,                                                    STIPULATED MOTION TO
                                                                                   REMAND TO WHATCOM COUNTY
13                                  Plaintiffs,                                    SUPERIOR COURT
14                       vs.                                                       NOTE ON MOTION CALENDAR:
     STATE FARM MUTUAL AUTOMOBILE                                                  November 23, 2021
15   INSURANCE COMPANY, a Foreign
16   Corporation, MICHAEL LEOTTA and JANE
     DOE LEOTTA, individually and the marital
17   community thereof, ERICA HROMAS and
     JOHN DOE HROMAS, individually and the
18   marital community thereof,
19                                  Defendants.

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                                         STIPULATED MOTION TO REMAND
21
              Plaintiffs Teresa VanWoudenberg and John VanWoudenberg, (“Plaintiffs”) and
22
     defendants State Farm Mutual Automobile Insurance Company, Michael Leotta, Jane Doe Leotta,
23
     Erica Hromas and, John Doe Hromas (“Defendants”) stipulate to remand the case to Whatcom
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     County Superior Court. Plaintiffs have agreed to dismiss claims against defendants Michael
25

     STIPULATED MOTION TO REMAND TO WHATCOM
     COUNTY SUPERIOR COURTSTIPULATED MOTION TO                                           WAKEFIELD & KIRKPATRICK, PLLC
                                                                                         A T T O R N E Y S      A T    L A W
     REMAND TO WHATCOM COUNTY SUPERIOR COURT - 1                                         17544 MIDVALE AVENUE NORTH, SUITE 307
     (Case No. C21−1566−SKV)                                                             SHORELINE, WA 98133
                                                                                         (206) 629-2120 FAX (206) 629-2120

     VanWoudenberg et al v. State Farm 21-1566 - Order Grnt Stipulate Mtn Remand
              Case 2:21-cv-01566-SKV Document 7 Filed 12/01/21 Page 2 of 3




 1   Leotta, Jane Doe Leotta, Erica Hromas, and John Doe Hromas in exchange for State Farm agreeing

 2   to remand this lawsuit back to Whatcom County Superior Court and for State Farm agreeing that

 3   all actions taken by Michael Leotta, Jane Doe Leotta, Erica Hromas, and John Doe Hromas were

 4   done within the course and scope of their employment as State Farm employees.

 5                               ORDER OF REMAND TO WHATCOM COUNTY
                                           SUPERIOR COURT
 6
              IT IS HEREBY ORDERED that the case is remanded to Whatcom County Superior
 7
     Court.
 8
              DATED this 1st day of December, 2021.
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11                                                                                 A
                                                                                   S. KATE VAUGHAN
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                                                                                   United States Magistrate Judge
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     STIPULATED MOTION TO REMAND TO WHATCOM
     COUNTY SUPERIOR COURTSTIPULATED MOTION TO                                         WAKEFIELD & KIRKPATRICK, PLLC
                                                                                       A T T O R N E Y S      A T    L A W
     REMAND TO WHATCOM COUNTY SUPERIOR COURT - 2                                       17544 MIDVALE AVENUE NORTH, SUITE 307
     (Case No. C21−1566−SKV)                                                           SHORELINE, WA 98133
                                                                                       (206) 629-2120 FAX (206) 629-2120

     VanWoudenberg et al v. State Farm 21-1566 - Order Grnt Stipulate Mtn Remand
             Case 2:21-cv-01566-SKV Document 7 Filed 12/01/21 Page 3 of 3




 1   DATED this 23rd day of November, 2021.

 2                                                                WAKEFIELD & WAKEFIELD, PLLC

 3
                                                                  By s/ Dan Kirkpatrick
 4
                                                                  By s/ Noelle Symanski
 5
                                                                      Dan Kirkpatrick                WSBA #38674
 6                                                                    Noelle Symanski                WSBA #57022
                                                                      WAKEFIELD & WAKEFIELD, PLLC
 7                                                                    17544 Midvale Ave N, Suite 307
                                                                      Shoreline, WA 98133
 8                                                                    E-mail: dkirkpatrick@wakefieldkirkpatrick.com
 9                                                                    E-mail:nsymanski@wakefieldkirkpatrick.com
                                                                      Attorneys for State Farm
10
     DATED this 23rd day of November, 2021.
11
                                                                  COPPINGER CARTER P.S.
12

13                                                                By /s/ Emmely Hart
14                                                                    Emmelyn Hart, WSBA #28820
15                                                                    for Carrie Coppinger Carter    WSBA #28817
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                                                                      E-mail: ccc@coppingercarter.com
19                                                                    Attorneys for Plainitff

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     STIPULATED MOTION TO REMAND TO WHATCOM
     COUNTY SUPERIOR COURTSTIPULATED MOTION TO                                       WAKEFIELD & KIRKPATRICK, PLLC
                                                                                     A T T O R N E Y S      A T    L A W
     REMAND TO WHATCOM COUNTY SUPERIOR COURT - 3                                     17544 MIDVALE AVENUE NORTH, SUITE 307
     (Case No. C21−1566−SKV)                                                         SHORELINE, WA 98133
                                                                                     (206) 629-2120 FAX (206) 629-2120

     VanWoudenberg et al v. State Farm 21-1566 - Order Grnt Stipulate Mtn Remand
